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BALTIMORE MD 21202

START USING YOUR CARD TODAY.

1. CALL 1-800-724-4411 to activate your card

2. SIGN the back of your card immediately
(for your protection)

3. USE your card at millions of locations, worldwide
(anywhere Visa® is accepted)

Here is your M&T Visa Credit Card with Rewards.

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BEFORE USE

Each cardholder must call 1-800-724-4411
with their card number to activate their

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TO MAKE PURCHASES WHILE EARNING REWARDS.

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05660-42-RRB7-05660-41-DIBKP-05660-31-12-

ACCOUNT #: XXXX XXXX XXXX 6414
TOTAL CREDIT LINE: $3,500

CASH LIMIT: $1,050
NUMBER OF CARDS: 1

CURRENT APRS
PURCHASES: 0.00%

BALANCE TRANSFER: 0.00%

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